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                         UNITED STATES DISTRICT COURT

                                  DISTRICT OF MAINE


UNITED STATES OF AMERICA                    )
                                            )
v.                                          )
                                            )      NO. 2:10-CR-136-DBH-03
HASAN WORTHY,                               )
                                            )
                      DEFENDANT             )


              DECISION AND ORDER ON DEFENDANT’S MOTIONS
                      TO SUPPRESS AND TO DISMISS


       The defendant Hasan Worthy has filed a motion to suppress or exclude

evidence and to dismiss the Fourth Superseding Indictment against him.

Worthy also seeks an evidentiary hearing and access to grand jury proceedings.

The controversy involves phone calls that Worthy made while incarcerated at

the Strafford County Jail, calls that were recorded. The government has agreed

not to use the evidence1 in its case-in-chief and urges me to grant that part of

the motion. Accordingly, the motion to suppress or exclude is GRANTED as to

the recorded calls. However, I DENY the motion to dismiss and the request for

an evidentiary hearing and access to grand jury proceedings.2




1 The government says that it will not “use the substance of any of the prison calls in its case

in chief.” Gov’t Response to Def. Worthy’s Mot. to Suppress Evidence and to Dismiss Fourth
Superseding Indictment at 1 (ECF No. 593). I interpret that statement to include testimony
that Nicole Webster-Gersy might give about the conversations.
2 I also deny the request that the government bear the burden of showing that all its evidence

was obtained entirely independent of the telephone conversations. Def. Worthy’s Mot. to
Suppress Evidence and to Dismiss Fourth Superseding Indictment at 2 (ECF No. 585).
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                                          BACKGROUND

       Worthy has been detained pending trial. For part of his detention he has

been housed at the Strafford County Jail in New Hampshire, one of the

locations where the U.S. Marshal for the District of Maine houses Maine federal

prisoners awaiting trial.3          The Strafford County Jail’s telephone system for

inmates is as follows, according to the official who has responsibility for

maintaining it:

               The inmate telephone system allows for two modes of
               communications. The general inmate telephone system
               (denoted by blue telephones) are used by inmates to make
               outgoing calls. Calls cannot be received on these lines. All
               calls made on this system contain a recorded statement
               that is played at the outset of every call that states the call
               will be recorded. Recordings of inmate calls made on this
               phone system are maintained in the regular course of
               business for approximately one (1) year.

               In addition, inmates have access to telephones that can
               receive incoming calls from legal counsel. Communications
               that occur on these telephones are not monitored nor
               recorded. As part of the jail’s established procedures, each
               inmate is advised of this attorney phone at the time of the
               inmate’s intake by the Housing Unit Officer.

Gov’t Response to Def. Worthy’s Mot. to Suppress Evidence and to Dismiss

Fourth Superseding Indictment, Ex. A (ECF No. 593-1). The defendant has not

challenged the accuracy of this description of the telephone system and

procedures.

       After first being housed at the Cumberland County Jail, Worthy was

moved to Strafford County.             While there, he apparently used the outgoing,

3 There are no federal pretrial facilities in Maine. Although local jails are used as available, it is

common for federal detainees to be housed at the Strafford County facility. The defendant has
presented no evidence to support his assertion that the U.S. Attorney’s Office (as distinguished
from the U.S. Marshal) arranged for Worthy to be housed at Strafford County.


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recorded, telephone system to contact a female co-defendant and, on three

occasions, to reach his lawyer’s office. The DEA agent in charge of the case

asked the Jail for its telephone recordings of Worthy’s calls. Def. Worthy’s Mot.

to Suppress Evidence and to Dismiss Fourth Superseding Indictment, Ex. A

(ECF No. 585-1).4 On November 5, 2010, she listened to them (apparently they

all occurred in October except for some on November 1) but, any time it

became apparent that Worthy was calling his lawyer, she stopped listening to

that call.    She did listen to a number of calls that Worthy placed to co-

defendant Nicole Webster-Gersy. According to the defendant, Webster-Gersy

professed love for Worthy and engaged him in conversation about the crime

and the co-defendants. The DEA agent has sworn that she did not (and to her

knowledge, no one else did) “instruct, direct, or encourage” Webster-Gersy to

talk to Worthy. Affidavit of Kristine Tierney ¶ 6 (ECF No. 593-2).

                               SIXTH AMENDMENT RIGHTS

       Worthy’s claim that the government violated his Sixth Amendment rights

is not persuasive. So far as his three communications with his lawyer’s office

are concerned, Worthy was warned at the beginning of each call that his call

would be recorded. If he had something confidential to say, Worthy had only to

request that his lawyer return the call on the unmonitored, unrecorded line. In


4 The defendant complains about the delayed disclosure of these conversations. The disclosure

was late (these are, after all, statements of the defendant to which he is entitled under Rule
16(a)(1)(B)).  The government states that it was previously unaware of the recorded
conversations (and the DEA agent’s affidavit says that she did not discuss the contents of the
calls with the AUSA or send him a copy of the proceedings, Tierney Aff. ¶ 5), but, more
importantly, the trial is not yet imminent, they have now been disclosed, and I find no
prejudice.


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addition, I have no reason to disbelieve the DEA agent’s affidavit that she

stopped listening to any recorded call as soon as she could identify a recorded

call as being directed to the law office, or the Assistant United States Attorney’s

statement that he has listened to none of the calls.             Gov’t Response to Def.

Worthy’s Mot. to Suppress Evidence and to Dismiss Fourth Superseding

Indictment at 5. Finally, none of the calls will be used in the government’s

case-in-chief.    Thus, there is no violation of attorney-client privilege or the

Sixth Amendment with respect to Worthy’s three calls to his lawyer’s office,5

and nothing that would justify an evidentiary hearing, access to grand jury

records, placing the burden on the government to demonstrate that all its

evidence is independent of the telephone recordings, or dismissing the

indictment.

       Worthy also argues that Nicole Webster-Gersy was speaking to him as a

government informant, and thereby infringed his Sixth Amendment rights. He

has no evidence to buttress his assertion that Webster-Gersy was acting on

behalf of the government, but he argues that Webster-Gersy had agreed to

plead guilty before these phone calls occurred (her guilty plea was not entered

until much later, but she signed the agreement before the phone calls

occurred) and infers that she was cooperating with the government during this


5 Worthy is concerned that the calls may have revealed defense strategy and may have caused

the government’s decision to bring a later superseding indictment. That is only speculation.
The government has denied that the calls had anything to do with the superseding indictment,
see note 4 supra, but more importantly Worthy had a secure telephone available to him, yet
chose for undisclosed reasons to use the telephone that he knew would be recorded. I will not
permit an inquiry into prosecutorial strategy or grand jury proceedings on so slim a
foundation.


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time. Even if that is so, Webster-Gersy’s actions create a Sixth Amendment

issue only if the government was complicit in her talking to Worthy. The DEA

agent has stated by affidavit that neither she nor anyone else “instruct[ed],

direct[ed], or encourage[d]” Webster-Gersy to talk to Worthy. Tierney Aff. ¶ 6.

Worthy has given me no basis upon which to conclude that the government

was involved in Webster-Gersy’s communications with Worthy. And if it was,

the remedy would be suppression, relief that I am already granting.6


6
 Worthy requests an evidentiary hearing on:
               1. The extent to which Special Agent Tierney listened to and
                   employed recordings of attorney-client recordings;
               2. Whether Ms. Webster-Gersy was encouraged to communicate
                   with the defendant;
               3. Why Ms. Webster-Gersy’s agreement to plead guilty was kept
                   secret for so long;
               4. Whether Ms. Webster-Gersy, who during the fall of 2010 was
                   actively assisting Defendant Worthy’s defense, communicated
                   any attorney-client communications or defense strategies
                   directly to the government;
               5. The time at which the DEA forwarded the recorded
                   conversations or the memo about the recorded conversations
                   to the office of the United States Attorney;
               6. The considerations that caused the government to seek a
                   series of superseding indictments, and whether the
                   intercepted communications between the defendant and his
                   attorney was a motivating factor;
               7. The reasons the defendant was moved from Cumberland
                   County to Strafford County;
               8. How the government selected calls by the defendant to be
                   gathered;
               9. Whether the inclusion of calls with defense counsel among the
                   gathered calls was inadvertent and the procedures, if any,
                   that the Department of Justice follows, for disclosing the
                   existence of such recordings if they are gathered
                   inadvertently; and
               10. All other circumstances relevant to this motion.
Def. Worthy’s Mot. to Suppress Evidence and to Dismiss Fourth Superseding Indictment at 16.
In his reply memorandum, the request is:
               A. Did the government know of cooperating witness Nicole
                   Webster-Gersy’s ongoing series of recorded conversations with
                   defendant Worthy, encourage those calls, even tacitly, by
                   suggesting to her, for example, that the government would
                   secure the recordings, by asking her what Mr. Worthy had to
                   say about various topics, or otherwise?
(continued next page)

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              B. Is it a coincidence that defendant Webster-Gersy’s
                 arraignment was postponed the very day that Agent Tierney
                 secured the recordings?
              C. Does the government routinely secure copies of detainees’
                 conversations? Or was securing these recordings unusual?
              D. If securing the recordings was unusual, what caused the
                 government to obtain the recordings in this case?
              E. If (as the government asserts in its response) Agent Tierney
                 was unaware of the calls between Webster-Gersy and Worthy
                 until she listened to the tape recordings, why did she get them
                 at all?
              F. If the government routinely secures a detainees recorded
                 conversations, why has it not produced in discovery the
                 recordings of any other detainees?
              G. As Agent Tierney’s Affidavit states that in 2010 she provided
                 the Office of the United States Attorney her memorandum
                 documenting that she reviewed recordings of conversations
                 between Worthy and Webster-Gersy, why did the government
                 withhold that information until 2012?
              H. Was the information withheld so that the conversations could
                 continue?
              I. As defendant Webster-Gersy is cooperating with the
                 government, why has the government not provided an
                 affidavit from her?
              J. Is it a coincidence that Ms. Webster-Gersy signed her written
                 agreement to cooperate on September 21, 2010, before the
                 recorded conversations, and that the agreement included a
                 promise by her to plead guilty to the Third Superseding
                 Indictment, even though no such indictment existed until
                 November, 2010, and that the agreement was kept secret
                 until after she had participated in the recorded calls?
              K. Was Ms. Webster-Gersy’s initial appearance delayed so that
                 the recorded conversations could continue?
              L. If not, why was her first appearance delayed until November
                 15, 2010, nearly two months after she signed her agreement
                 to plead guilty to the (not yet in existence) Third Superseding
                 Indictment?
              M. Why did Ms. Webster-Gersy enter pleas of not guilty to the
                 second and third superseding indictments in November and
                 December, 2010, respectively (see Docket No. 220 and 540),
                 after having agreed in writing back in September 2010 to
                 plead guilty to the Third Superseding Indictment?
              N. Why was Ms. Webster-Gersy’s plea of guilty not entered until
                 September 2, 2011, nearly a full year after she agreed in
                 writing to plead guilty and cooperate against defendant
                 Worthy, if it was not so that she could continue to gather
                 evidence against him by engaging in recorded calls while
                 encouraging him to believe she was devoted to him?
Def. Worthy’s Reply in Support of Mot. to Suppress Evidence and to Dismiss Fourth
Superseding Indictment at 3-4 (ECF No. 597).
       On the current state of the record, I decline to grant those requests for a fishing
expedition.
(continued next page)

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       Accordingly, the motion is GRANTED IN PART (suppression) and DENIED IN

PART (the remainder).

       SO ORDERED.

       DATED THIS 15TH DAY OF MAY, 2012

                                                   /S/D. BROCK HORNBY
                                                   D. BROCK HORNBY
                                                   UNITED STATES DISTRICT JUDGE




      In his Reply, the defendant Worthy also challenges certain factual assertions in the
government’s legal memorandum:
   1. That the memorandum’s assertion that the DEA Agent “learned upon listening to the
      recordings that a co-defendant (Nicole Webster-Gersy) received numerous calls from
      defendant” is not supported by the DEA Agent’s affidavit or otherwise. The DEA Agent’s
      affidavit stated that she “listened to the recordings. Most of the recordings were calls
      made by Worthy to Nicole Webster-Gersey.” Tierney Aff. ¶ 3. That is sufficient to
      support the statement in the government’s memorandum. (I recognize that Worthy
      believes that the Agent may have known of the communications even before she
      listened to them.)
   2. That the memorandum’s assertion that the Agent “never communicated with Webster-
      Gersey about talking with Worthy on the telephone” is not supported by the Agent’s
      affidavit. Her affidavit states: “I did not instruct, direct, or encourage Nicole Webster-
      Gersey to communicate with Hasan Worthy and I am unaware of any person involved in
      the investigation or prosecution who did so.” Id. The government’s memorandum is
      not an unfair reflection of the Agent’s statement.
   3. That the recent disclosures were Jencks disclosures when in reality they were late
      discovery. I agree that these recordings were late discovery, but their lateness has not
      caused prejudice that would require dismissal or an evidentiary hearing.
Def. Worthy’s Reply in Support of Mot. to Suppress Evidence and to Dismiss Fourth
Superseding Indictment at 1-2.


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